         Case 4:13-md-02420-YGR Document 1010 Filed 01/06/16 Page 1 of 2
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                               UNITED STATESDISTRICT CO URT
14                           NO RTH ERN DISTRICT O FCALIFO RNIA
                                     O AK LAND DIVISIO N
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     IN RE:LITHIUM ION BATTERIESANTITRUST CaseNo.:4:13-md-02420-YGR (DM R)
16 LITIGATION
                                                     M DLNo. 2420
17 ThisDocumentRelatesto:IndividualCase
     No. 15-cv-02987-YGR                             NO TICE O FVO LUNTARY DISM ISSAL,
18                                                   W ITH PREJUDICE O FPANASO NIC AND
     DELLINC. AND DELLPRODUCTSL.P.                   SANYO DEFENDANTS
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            PLAINTIFFS,                              Hon. YvonneGonzalezRogers
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            V.
21                                                      CASE NO. 15-CV-2987-YGR
     LG CHEM , LTD., ETAL.
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            DEFENDANTS.
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24          NO TICE ISH EREBY GIVEN that,pursuanttoFederalRuleofCivilProcedure

25 41(a)(1)(A)(i), PlaintiffsDellInc. andDellProductsL.P. herebydismisswithprejudicetheirclaims
26 againstPanasonicCorporationandPanasonicCorporationofNorthAmerica(collectively, the
27 “PanasonicDefendants”)andSanyoElectricCo., Ltd. andSanyoNorthAmericaCorporation
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     NOTICEOFVOLUNTARY DISM ISSAL,                                           CaseNo. 4:
                                                                                      15-cv-02987-YGR
     W ITH PREJUDICE, OFPANASONIC AND
     SANYO DEFENDANTS
        Case 4:13-md-02420-YGR Document 1010 Filed 01/06/16 Page 2 of 2




 1   (collectively, the“SanyoDefendants”)intheabove-captionedaction. ThePanasonicDefendantsand

 2   SanyoDefendantshavenotfiledananswertoDell’sComplaintoramotionforsummaryjudgment

 3   inthisaction. Eachpartyshallbearitsownattorneys’feesandcosts.

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           Respectfullysubmittedthis2nddayofJanuary, 2016.
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     NOTICEOFVOLUNTARY DISM ISSAL,                                    CaseNo. 4:
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     W ITH PREJUDICE, OFPANASONIC AND
     SANYO DEFENDANTS
